Case 1:24-cv-20492-RKA Document 31-3 Entered on FLSD Docket 05/22/2024 Page 1 of 2




                            Exhibit B
Case 1:24-cv-20492-RKA Document 31-3 Entered on FLSD Docket 05/22/2024 Page 2 of 2


    From:                Byron & Byron
    To:                  Damian Kelsick
    Subject:             Re: Timothy Harris v. MSR Media et al.
    Date:                Monday, May 20, 2024 12:37:53 PM


    Received with thanks.

    BYRON & BYRON
    Barristers-at-Law & Solicitors
    of the Eastern Caribbean Supreme Court

    Chambers, P.O. Box 154, O'Loughlin House, Fort Street, Basseterre, St. Kitts, West Indies.

    Telephone: (869) 465-2055 or (869) 465-5952

    Fax:         (869) 465-7191

    E-Mail:      office@byronlawchambers.com

    __________________________________________________

    THIS E-MAIL (AND ANY ATTACHMENTS) MAY CONTAIN CONFIDENTIAL AND/OR PRIVILEGED
    INFORMATION INTENDED ONLY FOR THE ADDRESSEE. IF YOU HAVE RECEIVED THIS E-MAIL IN
    ERROR, PLEASE NOTIFY US IMMEDIATELY AND DELETE THE E-MAIL




    On Mon, May 20, 2024 at 8:53 AM Damian Kelsick <desk@kwfonline.com> wrote:
     Dear Mr. Byron
     Please find attached copies of the subpoenas served on behalf of our clients pursuant
     to 1782 Proceedings ( In Re: Martinez and MSR Media SKN LTD., Case No. 1:24-mc-
     20492-RKA) brought in the United States for discovery relating to the captioned action.

      Regards

      Damian E. S. Kelsick KC
      Partner
      Kelsick, Wilkin & Ferdinand
      Independence Square South • Basseterre • St. Kitts
      T: (869) 465-2645 • F: (869) 465-7808 • Web

      CONFIDENTIAL - The information in this e-mail message is confidential and may be legally privileged and protected by law. It
      is intended solely for the individual(s) to whom it is addressed. If you are not the intended recipient please notify the sender
      immediately, delete the e-mail from your system and do not copy or disclose it to anyone else.
